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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, ET AL                                   CIVIL ACTION

VERSUS                                                   NO: 3:22-CV-00211

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana

Consolidated with

EDWARD GALMON, ET AL                                     CIVIL ACTION

VERSUS                                                   NO: 3:22-CV-00214

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana

                                             ORDER

       Considering the foregoing Motion to Enroll Additional Counsel of Record for Defendant,

       IT IS ORDERED , that the motion is GRANTED enrolling JOHN C. CONINE, JR. (La.

Bar Roll No. 36834) as additional counsel of record for Defendant, R. KYLE ARDOIN, in his

official capacity as Secretary of State of Louisiana.

       READ, SIGNED AND DATED this ______ day of _____________, 2023, in Baton

Rouge, Louisiana.



                                              _____________________________________
                                              Judge, United States District Court




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